                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


 UNITED STATES OF AMERICA,                   )
                                             )
                    Plaintiff,               )
                                             )
 v.                                          ) Case No.:                 3:22-cv-0982
                                             ) Judge
 FUNDS, CREDITS, AND VIRTUAL                 )
 CURRENCIES IN THE BINANCE                   )
 ACCOUNT NO. 441821123 WHICH                 )
 CONTAINS BITCOIN ADDRESS                    )
 bclqux8j0yytm0rt87p7sa4x997de8kfdqynanykxm, )
                                             )
                    Defendant.               )
                                             )


                     SUMMONS AND WARRANT FOR ARREST IN REM

TO:       THE UNITED STATES SECRET SERVICE AND/OR ANY OTHER DULY
          AUTHORIZED LAW ENFORCEMENT OFFICER

          On December 5, 2022, the United States of America filed a Verified Complaint In Rem for

civil forfeiture in the United States District Court for the Middle District of Tennessee, Nashville

Division against the above-named defendant Property, alleging that said property is subject to

seizure and civil forfeiture to the United States for the reasons stated in the above referenced

complaint.

          The defendant property is currently in the possession, custody or control of the United

States.

          In these circumstances Supplemental Rule G(3)(b)(i) directs the Clerk of the Court to issue

an arrest warrant in rem for the arrest of the defendant property.

          Supplemental Rule G(3)(c) provides that the warrant of arrest in rem must be delivered to




      Case 3:22-cv-00982 Document 3 Filed 12/05/22 Page 1 of 2 PageID #: 10
a person or organization authorized to execute it.

         NOW THEREFORE you are hereby commanded to arrest the above-named defendant

Property by serving a copy of this warrant on the custodian in whose possession, custody or control

the property is presently found, and to use whatever means may be appropriate to protect and

maintain it in your custody until further order of this Court.

         YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file

the same in this Court with your return thereon, identifying the individuals upon whom copies

were served and the manner employed.

Dated:     12/5/2022



                                              Clerk of the Court
                                              United States District Court


                                              By:
                                              Deputy Clerk




                                                  2

     Case 3:22-cv-00982 Document 3 Filed 12/05/22 Page 2 of 2 PageID #: 11
